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                           EXHIBIT 3
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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                            423(03/18)
                                       CIVIL MINUTES - GENERAL
 Case No.       ML 15-2668 PSG (JEMx)                                       Date      March 15, 2022
 Title          In re National Football League’s Sunday Ticket Antitrust Litigation




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           Order GRANTING Plaintiffs’ motion to modify the
                                      scheduling order.

       Before the Court is Plaintiffs’ motion to modify the scheduling order. See generally Dkt.
# 423 (“Mot.”). Defendants National Football League, Inc.; NFL Enterprises LLC; and 32
individual NFL clubs (collectively, “NFL Defendants”) opposed. See generally Dkt. # 429
(“Opp.”). Plaintiff replied. See generally Dkt. # 431 (“Reply”). The Court finds this matter
appropriate for decision without oral argument. See Fed. R. Civ. P. 78; L.R. 7–15. Having
considered the moving, opposing, and reply papers, the Court GRANTS Plaintiffs’ motion.

I.       Background

      Plaintiffs bring this consolidated putative class action against NFL Defendants and
DirecTV, alleging that they violated the Sherman Act by working together “to eliminate all
competition in the broadcasting and sale of live video presentations of professional football
games.” See Consolidated Amended Complaint, Dkt. # 163, ¶¶ 1, 155–63.

        The Court entered a scheduling order in January 2021, requiring “substantial completion”
of all document production by October 2021 for document requests served by January 2021. See
generally Dkt. # 294. Shortly after the substantial completion deadline, the parties stipulated to
modify the scheduling order, representing that they “ha[d] substantially completed their
document productions” as the scheduling order required. November 2021 Stipulation to Modify
the Scheduling Order, Dkt. # 362 (“November 2021 Stip.”), at 2:19–21. But the parties indicated
that they needed more time in discovery because Plaintiffs had received approximately 500,000
pages of documents from NFL Defendants and because they anticipated that DirecTV would
produce millions of pages of documents by mid-January 2022. See id. 2:25–3:11. The Court
granted the extension and pushed back fact discovery cut-off from March 2022 to May 2022.


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See Modified Scheduling Order, Dkt. # 363, at 1. Most other pretrial deadlines remained in
place. See id. at 1–2.

        In February 2022, Plaintiffs filed the instant motion to modify the scheduling order. See
generally Mot. Plaintiffs maintain that, over the last three months, NFL Defendants have
produced about 600,000 pages of additional documents—all after the substantial completion
deadline. Declaration of Peter E. Leckman, Dkt. # 423-3 (“Leckman Decl.”), ¶ 8. Plaintiffs also
accuse NFL Defendants of making material misrepresentations in their interrogatory responses
that have led to further delays and the recent production of a very large database. Id. ¶ 12. In
light of these recent events, Plaintiffs propose various modifications to fact discovery cut-off, the
class certification briefing schedule, and expert discovery deadlines. See Mot. 5:6–22.

II.      Legal Standard

       Under Federal Rule of Civil Procedure 16, scheduling orders may be modified “only for
good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). “The party seeking to
continue or extend the deadlines bears the burden of proving good cause.” Benchmark Young
Adult Sch., Inc. v. Launchworks Life Servs., LLC, No. 12-cv-2953-BAS(BGS), 2014 WL
3014720, at *2 (S.D. Cal. July 3, 2014) (citing Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080,
1087 (9th Cir. 2002)). The “‘good cause’ standard primarily considers the diligence of the party
seeking the amendment.” See Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th
Cir. 1992). “If that party was not diligent, the inquiry should end.” Id. Although prejudice to
the non-moving party might supply additional reasons to deny a motion, “the focus of the inquiry
is upon the moving party’s reasons for seeking modification.” Id.

III.     Discussion

       NFL Defendants maintain that Plaintiffs have not been diligent and that the “good cause”
inquiry should thus end there. See Opp. 7:12–13:9. The Court disagrees.

       The parties dispute the significance of voluminous document productions made after the
Court’s substantial completion deadline. The Court’s substantial completion deadline was
October 2021 for document requests made by January 2021. See Dkt. # 294. When the parties
stipulated to modify the scheduling order in November 2021, both sides represented that they
had substantially completed their document production. November 2021 Stip. 2:19–21. And
Plaintiffs say they relied on NFL Defendants’ representation that document production was
substantially complete. Mot. 9:25–28. But several months after the substantial completion


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deadline, NFL Defendants produced almost 600,000 additional pages of documents, more than
doubling the amount of information produced prior to the substantial completion deadline. See
Leckman Decl. ¶ 6. As expected, DirecTV also produced approximately 3.3 million pages of
documents around the same time. See Mot. 10:25–11:1; Reply 2:12 n.1.

       NFL Defendants argue that Plaintiffs’ need for more time to review these documents
highlights Plaintiffs’ lack of diligence for two reasons. First, they claim that Plaintiffs knew that
many of the documents produced after the substantial completion deadline were “due to matters
outside the NFL Defendants’ control”—i.e., due to various confidentiality concerns and ongoing
negotiations with third party broadcast partners to redact portions of the documents. Opp.
8:14–22. And some of the documents were also produced in response to requests Plaintiffs
made after January 2021 that therefore did not need to be produced by the substantial completion
deadline. See Declaration of Rakesh Kilaru, Dkt. # 429-1 (“Kilaru Decl.”), ¶ 5. But even if
NFL Defendants were not at fault for the delay, that does not change the fact that Plaintiffs now
have 600,000 additional pages of documents to review that they did not anticipate given NFL
Defendants’ representation to Plaintiffs and the Court that document production was
“substantially complete” as of October 2021.

        Second, NFL Defendants claim Plaintiffs have not been diligent because “Plaintiffs have
not noticed a single deposition or even raised the topic of depositions with defense counsel”
despite asking for more time previously to conduct depositions. Opp. 6:12–18, 12:12–13:2. But
this argument is somewhat circular because the substantial completion deadline “was established
in part to allow parties to take depositions at a defined time with the assurance that substantially
all document discovery has been completed.” See Whitewater W. Indus., Ltd. v. Pac. Surf
Designs, Inc., No. CV 17-1118-BEN (BLM), 2018 WL 2979575, at *4 (S.D. Cal. June 8, 2018)
(internal quotation marks and alteration omitted). Because Plaintiffs lack those assurances given
the sheer volume of documents they received after the substantial completion deadline, it is
reasonable for them to have delayed taking depositions for the time being.

       The parties also dispute another issue—whether NFL Defendants made material
misrepresentations in their interrogatory responses that led to further discovery delays. In
January 2021, Plaintiffs served NFL Defendants with an interrogatory requesting “all categories
of information . . . associated with individual consumers or viewers of live NFL football
telecasts.” Dkt. # 423-5, Ex. B, at 3:10–16. This specifically called for personal identification
and demographic information of “consumers and viewers,” among other categories of
information. Id. In March 2021, NFL Defendants responded that they had a “Fan Centric
Marketing Database” but that the database did not “track personal identification or other


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demographic information relating to individual viewers of live NFL football telecasts.” See id.
4:3–15.

       According to Plaintiffs, after further discovery, they learned that NFL Defendants’
response was inaccurate because the database does track the personal identification information
Plaintiffs sought. Leckman Decl. ¶ 13. NFL Defendants disagree that their response was
inaccurate because Plaintiffs specifically asked for viewer data but the database tracks only those
who have subscribed to NFL Sunday Ticket—i.e., drawing a somewhat hollow distinction
between viewers of NFL telecasts and subscribers to NFL Sunday Ticket. See id. In any event,
Plaintiffs requested access to the fan database in January 2022. Id. ¶¶ 14–15. And NFL
Defendants obliged, producing 14 gigabytes of fan data, possibly with more to come. See Reply
10:1 n.6.

       NFL Defendants assert that Plaintiffs were not diligent because they knew about the fan
database since March 2021 but failed to follow up on NFL Defendants’ interrogatory response or
request more information about the fan database. Kilaru Decl. ¶¶ 19–20. Evidently there was a
misunderstanding regarding the meaning of either Plaintiffs’ interrogatory or NFL Defendants’
response. But setting aside accusations of misrepresentation and fault, it is clear that Plaintiffs
now have an immense database to review. Given the complexity of this case and the voluminous
document productions to date, the Court cannot say that Plaintiffs failed to act diligently by not
following up on—or scrutinizing the phrasing of—a single interrogatory response.

      Accordingly, the Court finds that Plaintiffs have worked diligently throughout the
discovery process, and in light of the events described above, there is good cause to modify the
scheduling order.1 See Johnson, 975 F.2d at 609.




1
 NFL Defendants also maintain that they would be prejudiced by Plaintiffs’ proposed
modification because it requires opening merits expert reports in advance of the class
certification hearing and truncates their time to prepare a motion for summary judgment. Opp.
13:13–20. Although prejudice to the non-moving party is relevant, it is not, standing alone,
sufficient to justify denying the motion. See Johnson, 975 F.2d at 609. However, the Court will
take NFL Defendants’ concerns into consideration when modifying the scheduling order.


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IV.       Conclusion

      Based on the foregoing, the Court GRANTS Plaintiffs’ motion and modifies the
scheduling order as follows:

                         Event                      Current Date                    New Date
                Fact Discovery Deadline             May 15, 2022                 August 5, 2022
           Class Certification Motion
                                                     June 5, 2022               August 19, 2022
       (and accompanying expert reports)
       Opposition to Class Certification
                                                   August 19, 2022             November 4, 2022
      (and accompanying expert reports)
      Reply Brief on Class Certification
                                         September 19, 2022                    December 2, 2022
      (and accompanying expert reports)
           Class Certification Hearing            October 17, 2022      December 16, 2022 at 1:30 p.m.
         Opening Merits Expert Reports            November 4, 2022              January 6, 2023
       Responsive Merits Expert Reports           January 18, 2023              March 17, 2023
         Rebuttal Merits Expert Reports             March 6, 2023                   May 5, 2023
            Expert Discovery Deadline               April 5, 2023                   June 2, 2023
          Summary Judgment Motions                  May 22, 2023                  July 21, 2023
         Summary Judgment Oppositions               July 21, 2023               August 21, 2023
         Summary Judgment Reply Briefs             August 21, 2023            September 22, 2023
       Summary Judgment Hearing Date               October 9, 2023       October 27, 2023 at 1:30 p.m.
                Final Pretrial Conference         February 5, 2024       February 9, 2024 at 2:30 p.m.
                          Trial                   February 20, 2024     February 22, 2024 at 9:00 a.m.

          IT IS SO ORDERED.




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